                     IN THE UNITED STATES DISTRICT COURT                                 v   :).,   -   I'._   ~o
                    FOR THE WESTERN DISTRICT OF WISCONSIN
                                2020 JUN 17 PM t,: 03
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UNITED STATES OF AMERICA                              INDICTMENT               ,,                                   I   -




              v.
                                                           20       CR
                                              Case No. _ _ _ _ _ _ _ __
                                                                              ()72. -JDP
                                                       18 u.s.c. § 1347
RAVI MURALI,                                           18 U.S.C. § 2

                            Defendant.



THE GRAND JURY CHARGES:

      1.      At times material to this indictment:

              a.   . Defendant RAVI MURALI was a physician who was licensed in the

state of Wisconsin and enrolled in the Medicare program.

                                 The Medicare Program

              b.     The Medicare Program (Medicare) was a federal health care

program that provided benefits to individuals who were at least 65 years old, or

disabled. The benefits available under Medicare were governed by federal statutes and

regulations. Individuals who received benefits under Medicare were commonly

referred to as Medicare "beneficiaries." Medicare was administered by the United

States Department of Health and Human Services (HHS) through its agency, the

Centers for Medicare & Medicaid Services (CMS).

              c.     Medicare was a "health care benefit program," as defined by Title

18, United States Code, Section 24(b) and a "Federal health care program," as defined in

Title 42, United States Code, Section 1320a-7b(f).
             ·d.    Medicare was subdivided into multiple parts: Part A covered

hospital inpatient care, Part B covered physicians' services and outpatient care, and

durable medical equipment (BME), Part C was Medicare Advantage Plans, and Part D

covered prescription drugs.
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             e.     In order for Medicare to pay for DME, it must have been ordered

by a physician or other eligible professional who, among other requirements, was

enrolled in Medicare or validly opted-out of the Medicare program. 42 C.F.R. §

424.507(a)(iii). A physician was required to apply to be enrolled in Medicare. One way

physicians could apply for enrollment in the Medicare program was to use the paper

enrollment application process (CMS form 8551).

             f.     CMS form 8551 required the applying physician to provide various

types of information and make certifications, including the follow~g:

                    i.        The applying physician agreed to abide by the Medicare

             laws, regulations and program instructions that apply fo him. The

             applying physician certified that he understood that payment of a claim

             by Medicare was conditioned upon the claim and the underlying

             transaction complying with various laws, regulations, and program

             instructions.·

                    ii.       The applying physician certified that he would not

             knowingly present or cause to be presented a false or fraudulent claim for

            · payment by Medicare, and that he would not submit claims with

             deliberate ignorance or reckless disregard for their truth or falsity.



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                               Durable Medical Equipment

               g.    Medicare covered an eligible individual's access to DME.

Examples of DME included walkers, wheelchairs, oxygen equipment, and accessories,

and off-the-shelf (OTS) ankle braces, knee braces, back braces, shoulder braces, wrist

braces, and hand braces (collectively, "braces" or "medical braces"). OTS braces

required minimal self-adjusting for appropriate use and do not require expertise in

trimming, bending, molding, assembling, or customizing to fit the individual.

               h.    For any DME item to be covered by Medicare, it must: Be eligible

for a defined Medicare benefit category; be reasonable and necessary for the diagnosis

or treatment of illness or injury or to improve the functioning of a malformed _body

member; and meet all other applicable Medicare statutory and regulatory requirements.

               i.    For certain DME products, Medicare promulgated specific
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requirements that a DME order must meet for an order to be considered reasonable

· and necessary." For example, for OTS knee braces billed to Medicare under the

Healthcare Common Procedures Coding System (HCPCS) Codes L1833 and L1851, an
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order was deemed not reasonable and necessary" and reimbursement was denied

unless the ordering/ referring physician documented the beneficiary's knee instability

using an objective description of joint laxity determined through an examination of the·

beneficiary.

                                         Telemedicine

               j.    Telemedicine provided a means of connecting patients to medical

professionals by using telecommunications technology, such as the internet or

telephone, to interact with a patient.
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                    k.     Telemedicine companies provided telemedi~ine services to

     _individuals by hiring health care providers. Telemedicine companies typically paid

      4ealth care providers a fee to conduct consultations with patients. In order to generate

      rev~nue, telemedicine companies typically billed ins?,rance.

                    I.     Medicare Part B covered expe~ses for specified telemedicine ·

      services if certain requirements were met. These req1:1irements included: (a) that the

      beneficiary was located in a rural or health profes~ional shortage area; (b) that the

      services were d~livered via an interactive audio and video telecommunications system;

      and (c) the beneficiary was at a practitioner's office or a specified medical facility-not

     . at a beneficiary's home_..:.during the teleheaith consultation with a remote practitioner.

                                                Scheme

             2.     From on or a"!Jout January 1, 2017 to on or about January 7, 2020, in the

     Western Districtof Wisconsin and elsewhere, the defendant,

                                           RAVI.MURALI,

      and others, known and unknown to the grand jury, knowingly and willfully executed

      and attempted to execute a scheme and artifice to defraud a health care benefit

     program, namely Medicare, and to obtain, by means of false and fraudulent pretenses,

     representations, and promises, money and property owned by, and under_the custody

""    and control of a health care benefit program, namely Medicare, in connection with the

     .delivery of_ and payment for, health care benefits, items, and services.

             3.     It was part of the scheme that MURALI had to be enrolled in Me_dicare so

      that he could order medical braces for which Medicare paid. MURALI applied to



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 enroll in Medicare in November of 2012 by filling out and signing CMS form 8551, ·

 which included a section entitled CERTIFICATION STATEMENT, which instructed:

               · a.    "The Certification Statement contains certain standards that must

 be met for initial and continuous enrollment in the_Medicare program. Review these

 requirements carefully. By signing the Certification Statement, you agree to _adhere to

· all of the requirements listed therein .... "

 MURALI then agreed that he would abide by certain requirements by signing the

 CERTIFICATION STATEMENT, including:

                b. ·   "I agree to abide by the Medicare laws, regulations and program

 instructions that apply to me .... I understand that payment of a claim by Medicare is

 conditioned upon the claim and_ the underlying transaction complying with such laws,

 regulations, and program instructions (including, but n_ot limited to, the Federal anti:..

 kickback statute and the Stark law) .... "

               c.      "I will not knowingly present or cause to.be presented a false or

 fraudulent claim for payment by Medicare, and will not submit claims with deliberate

 ignorance or reckless disre~ard of their truth or falsity."

        4.      It was further part of :the scheme that MURALI.worked for various

 telemedicine companies and was paid to conduct telemedicine consults for medical

braces. He was paid approximately $30 for each telemedicine consult he completed.

        5.      It was further part of the scheme that as part of these telemedicine

 co:qsults, MURALI would electronically sign orders and other Medicare-required

 d<?cuments for medical braces that contained false and fraudulent statements, including

that he had spoken with the Medicare beneficiary, that he had established a valid
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prescriber-patient relationship with the Medicare beneficiary, that he medically

assessed the Medicare beneficiary, and that he conducted various examinations and

diagnostic tests of the Medicare beneficiary. These representations were rarely, if ever,

true, and MURALI ordered braces for Medicare beneficiaries regardless of medical

necessity.

       6.     It was further part of the scheme that these orders and related documents

were then used by medical brace suppliers to fraudulently bill Medicare for over

$26,000,000, of which Medicare actually paid over $13,000,000.

                                       Execution

       7.     On or about the dates set forth below, in the Western District of Wisconsin

and elsewhere, the d.efendant,

                                    RAVI MURALI,

for the purpose of executing the scheme described above, and in connection with the

delivery of and payment for health care benefits, items, and services, knowingly and

willfully aided and abetted others, known and unknown to the grand jury, who caused

the submission of the following false and fraudulent Medicare claims in the table below,

which falsely represented that MURALI had spoken with the Medicare beneficiary, that

he had established a valid prescriber-patient relationship with the Medicare beneficiary,

that he medically assessed the Medicare beneficiary, and that he conducted various

examinations and diagnostic tests of the Medicare beneficiary:

 Count       Approximate     Beneficiary DMEOrdered           Amount         Amount
             Date                                             Billed         Paid
1            3/4/2019        B.R.          Right knee brace   $1,238.42      $698.45



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 2           3/7/2019          N.B.          Left wrist brace     $572.13        $376.58

 3           3/28/2019         N.W.          Left knee brace      $1,050.67      $698.45

 4           4/8/2019          KA.           Left knee brace      $965.00        $698.45

 5           4/10/2019         D.P.          Right knee brace     $895.70        $698.45

 6           4/10/2019         M.P.          Left knee brace      $895.70        $669.60

 7           4/16/2019         J.P.          Right knee brace     $1,033.30      $497.35

 8           11/4/2019         B.W.          Right knee brace     $1,114.19      $698.45
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 9           11/15/2019        C.N.          Right knee brace     $1,114.19      $698.45

 10          11/18/2019        L.D.          Left knee brace      $1,075.00      $698.45

 11          11/18/2019        C.S.          Left knee brace      $1,200.00     $698.45

 12          11/25/2019        c.w.          Right knee brace     $1,114.19     $698.45



            (All in violation of Title 18, United States Code, Sections 1347 .and 2)

                               FORFEITURE ALLEGATION

       1.      The allegations contained in Counts 1-12 are re-alleged and incorporated

here for the purpose of alleging and giving notice of forfeiture pursuant to 18 U.S.C.

§ § 98l(a)(l)(C), 982, and 28 U.S.C. § 2461(c).

       2.      Upon conviction of any of the offenses alleged in Count 1-12, the

defendant RAVI MURALI, shall forfeit to the United States of America, pursuant to 18

U.S.C. §, 982(a)(7) and 28 U.S.C. § 2461(c), any property, reql or personal, which

constitutes or is derived from the proceeds traceable to the offense. The property to be




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forfeited includes, but is not limited to, a Money Judgment for a sum of money equal to

the amount of proceeds obtained as a result of the healthcare fraud.

       3.     If any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;.

              c.     has been placed beyond the jurisdiction of the court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which cannot be divided

without difficulty, the United States of America shall be entitled to forfeiture of

substitute property pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

982(b)(l) and 28 U.S.C. § 2461(c).

       All pursuant to 18 U.S..C. § 982 and 28 U.,S.C. § 2461(c).


                                           ATRUm
                                           PRESIDING JUROR

                                           Indictment returned:     D(Q I11( '2o'b()

SCOTT C. BLADER
United States Attorney




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